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                                          SPECIAL NOTICE

   THE FOLLOWING NOTICE IS GIVEN TO YOU IN THE EVENT THAT THE
FEDERAL FAIR DEBT COLLECTIONS ACT APPLIES TO THIS COMMUNICATION.


   The following statement provides you with notice of certain rights which you may have by law.

Nothing in this statement modifies or changes the hearing date or response time specified in the

attached documents or your need to take legal action to protect your rights in this matter. No

provision of the following statement modifies or removes your need to comply with local rules

concerning the attached documents.

                                    CONSUMER DISCLOSURE
   This communication is made in an attempt to collect on a debt or judgment and any information

obtained will be used for that purpose. Please be advised that if you notify Prober and Raphael

within 30 days that all or a part of your obligation or judgment is disputed, then Prober and Raphael

will mail to you a written verification of the obligations or judgment and the amounts owed to

Village Capital & Investment, LLC




. In addition and upon your request within 30 days, you will be provided with the name and address

of the original creditor, if different from the current creditor.
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                                                                           8       ESCROW ACCOUNT                                  Reda
                                                                             DISCLOSURE STATEMENT                                  cted

     P.O. Box 531667                                                            Online Information: www.villagecapital.com
     Henderson, NV 89053                                                        Click "MAKE A PAYMENT"
                                   0005992528 368
                                     01    Escrow Analysis                      Mon-Fri: 8:00 a.m. to 5:00 p.m. PT
                                   47190360 901002                              Toll Free: 1-800-919-0068
                                                                                Fax: 702-670-4024
                                                                                Correspondence:              Payments:
                                                                                P.O. Box 531667              P.O. Box 679118
                                                                                Henderson, NV 89053          Dallas, TX 75267-9118
    Reda
    ERIK WHARTON
    cted                                                                    Analysis Date:                                   08/02/24
     27 LEWIS ST
     FESTERVILLE TREVOSE, PA 19053                                          Loan Number:                               Redacted
                                                                            Mortgagor Name:                          ERIK WHARTON




Each year Village Capital & Investment, LLC reviews your escrow account to determine your new monthly escrow payment.
As you may know, we collect funds and hold them in your escrow account to pay property taxes and insurance premiums
on your behalf. Below are answers to the most commonly asked questions we receive abount the annual escrow analysis
and details related to your account.

 1. What is the amount of my new monthly payment starting October 01, 2024?
                        Payment Items                        Current Payment       New Payment        Difference
                        Principal and Interest                      $1,947.26         $1,947.26            $0.00
                        Escrow                                         726.68            748.96            22.28
                        Shortage/Surplus                                 0.00             46.86            46.86
                        Total Payment                                2,673.94          2,743.08            69.14


             • Note: If you currently use a third party bill pay service to make automatic payments, please update the
             amount scheduled to reflect the new payment listed above. If you are currently set up on automatic payments
             with Village Capital, this new amount will automatically take effect with your October payment.

  2. What are the most common reasons that my escrow payment may change from year to year?
    A. Increases or Decreases in Amounts Billed – The amount collected each month to be held in your escrow
       account may change based on increases or decreases to your property taxes, homeowner’s insurance or mortgage
       insurance premiums. The information below compares the amounts Village Capital expected to pay this past year
       for each item from your escrow account to the actual amounts that were paid. The difference column reflects the
       increase or decrease for each escrowed item.
                                                                Expected               Actual       Difference
                        Escrowed Item                          Amounts Due       Amounts Due
                        CITY TAX                                    $1,288.80         $1,326.43        $37.63
                        HAZARD INS                                  $1,946.00         $2,208.00       $262.00
                        RBP MONTHLY                                 $2,539.44         $2,507.16       -$32.28
                        SCHOOL TAX                                  $2,945.82         $2,945.82         $0.00
                        Total Annual Escrow Payments                $8,720.06        $8,987.41        $267.35
                        Monthly Escrow Payments                      $726.68          $748.96          $22.28


   B. Repayment of Escrow Shortage or Overage - According to the projections shown in Table 1 on the reverse side,
      your escrow account will fall below the minimum required balance of $1,080.04 in October. This results in a shortage
      of $562.29 in your escrow account.




               Projected Low Escrow Balance            Minimum Required Escrow Balance              Shortage
                           $336.13                minus         $1,080.04           equals          ($562.29)


    Please write your loan number on your check and mail this portion with your payment.

  ESCROW SHORTAGE COUPON                                      You have the following options to repay your Escrow Shortage:

  Loan Number:Redacted                                         A.   Do Nothing – The total shortage has been divided over 12
                                                                    months and $46.86 will automatically be added to your
  Name:   ERIK WHARTON
                                                                    monthly payment beginning October 01, 2024.
  Shortage Amount: $562.29                                     B.   Repay the Escrow Shortage in Full – Please submit a check
                                                                    in the amount of $562.29 along with this coupon to the
                                                                    address listed. Your new monthly payment will be $2,696.22
                                                                    once the full escrow shortage is paid in full.


                                                                                        Amount Enclosed $__________________
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  Henderson, NV 89053
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  ERIK WHARTON                                   Document      Page 5 of NEW
                                                                         8 PAYMENT EFFECTIVE DATE:October 01, 2024
                               ESCROW ACCOUNT PROJECTIONS AND ACTIVITY HISTORY
Table 1 shows a month by month estimate of the activity we anticipate will occur in your escrow account over the next 12 months.
This table shows the projected low balance point that is used to calculate an escrow surplus or shortage.

TABLE 1 - ACCOUNT PROJECTIONS
                                               Payments            Disbursements           Total                 Minimum
 Month            Description                  Estimate            Estimate                Balance               Required       Difference
                Beginning Balance                                                              $2,004.10
 October        RBP MONTHLY                        748.96              208.93                   2,544.13          1,080.04           1,464.09
 October        HAZARD INS                           0.00            2,208.00                     336.13          1,080.04            -743.91
 November       RBP MONTHLY                        748.96              208.93                     876.16          1,080.04            -203.88
 December       RBP MONTHLY                        748.96              208.93                   1,416.19          1,080.04             336.15
 January        RBP MONTHLY                        748.96              208.93                   1,956.22          1,080.04             876.18
 February       RBP MONTHLY                        748.96              208.93                   2,496.25          1,080.04           1,416.21
 March          RBP MONTHLY                        748.96              208.93                   3,036.28          1,080.04           1,956.24
 April          RBP MONTHLY                        748.96              208.93                   3,576.31          1,080.04           2,496.27
 April          CITY TAX                             0.00            1,326.43                   2,249.88          1,080.04           1,169.84
 May            RBP MONTHLY                        748.96              208.93                   2,789.91          1,080.04           1,709.87
 June           RBP MONTHLY                        748.96              208.93                   3,329.94          1,080.04           2,249.90
 July           RBP MONTHLY                        748.96              208.93                   3,869.97          1,080.04           2,789.93
 August         RBP MONTHLY                        748.96              208.93                   4,410.00          1,080.04           3,329.96
 August         SCHOOL TAX                           0.00            2,945.82                   1,464.18          1,080.04             384.14
 September      RBP MONTHLY                        748.96              208.93                   2,004.21          1,080.04             924.17
 ** - Low Balance used to determine escrow overage or shortage.
 Federal law (RESPA) allows lenders to maintain a two month cushion in an escrow account; however, your mortgage contract or state law may
 specify a lower amount. The cushion helps minimize the amount your escrow account could be overdrawn if tax or insurance payments increase.

 Table 2 itemizes your actual escrow account transactions since your previous analysis statement or initial disclosure. Last year's
 estimates are next to the actual activity. An asterisk (*) indicates a difference between the estimated and actual payments and
 disbursements. The letter 'E' beside an amount indicates that the payment or disbursement has not yet occurred, but is estimated to
 occur as shown.

TABLE 2 - ESCROW ACTIVITY HISTORY

                                                        Payments                     Disbursements                      Actual
 Month           Description                        Estimate  Actual               Estimate    Actual                   Balance
                 Beginning Balance                                                                                       $2,279.42
 October          RBP MONTHLY                         726.68        726.68            211.62            0.00 *            3,006.10
 October          HAZARD INS                            0.00          0.00          1,946.00        2,208.00 *              798.10
 October          RBP MONTHLY                           0.00          0.00              0.00          211.62 *              586.48
 November         RBP MONTHLY                         726.68        726.68            211.62            0.00 *            1,313.16
 November         RBP MONTHLY                           0.00          0.00              0.00          211.62 *            1,101.54
 December         RBP MONTHLY                         726.68        726.68            211.62            0.00 *            1,828.22
 December         RBP MONTHLY                           0.00          0.00              0.00          211.62 *            1,616.60
 January          RBP MONTHLY                         726.68        726.68            211.62          208.93 *            2,134.35
 February         RBP MONTHLY                         726.68        726.68            211.62            0.00 *            2,861.03
 February         RBP MONTHLY                           0.00          0.00              0.00          208.93 *            2,652.10
 March            RBP MONTHLY                         726.68        726.68            211.62            0.00 *            3,378.78
 March            RBP MONTHLY                           0.00          0.00              0.00          208.93 *            3,169.85
 March            CITY TAX                              0.00          0.00              0.00        1,326.43 *            1,843.42
 April            RBP MONTHLY                         726.68        726.68            211.62            0.00 *            2,570.10
 April            CITY TAX                              0.00          0.00          1,288.80            0.00 *            2,570.10
 April            RBP MONTHLY                           0.00          0.00              0.00          208.93 *            2,361.17
 May              RBP MONTHLY                         726.68        726.68            211.62            0.00 *            3,087.85
 May              RBP MONTHLY                           0.00          0.00              0.00          208.93 *            2,878.92
 June             RBP MONTHLY                         726.68        726.68            211.62            0.00 *            3,605.60
 June             RBP MONTHLY                           0.00          0.00              0.00          208.93 *            3,396.67
 July             RBP MONTHLY                         726.68        726.68            211.62            0.00 *            4,123.35
 July             RBP MONTHLY                           0.00          0.00              0.00          208.93 *            3,914.42
 August           RBP MONTHLY                         726.68        726.68 E          211.62          208.93 E            4,432.17
 August           SCHOOL TAX                            0.00          0.00 E        2,945.82        2,945.82 E            1,486.35
 September        RBP MONTHLY                         726.68        726.68 E          211.62          208.93 E            2,004.10




 If you have questions about your escrow analysis statement please contact our Mortgage Servicing Department at 1-800-919-0068.

 If you have an active bankruptcy or have received a bankruptcy discharge, we are sending this for informational, legal, or compliance
 purposes only. We are not trying to collect against you personally. If you have questions about this communication or your obligation
 to pay, please contact your attorney.
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                                                                  DISCLOSURES
Federal law requires us to advise you that Village Capital & Investment LLC (NMLS ID 3317) as the servicer of your loan, is responsible for collecting your
payments; however, in some circumstances we may be acting as a debt collector, in those circumstances, this communication is from a debt
collector attempting to collect a debt and any information obtained may be used for that purpose.

CREDIT REPORTING
We may report information about your account to credit bureaus. Late payments, missed payments, or other defaults on your account may be reflected
in your credit report. As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be submitted to a
credit reporting agency if you fail to fulfill the terms of your credit obligations.

IMPORTANT BANKRUPTCY NOTICE
Bankruptcy (if applicable) - To the extent your original obligation was discharged or is subject to an automatic stay of bankruptcy under Title 11 of the
U.S. Code, this statement is for compliance and/or informational purposes only and does not constitute an attempt to collect a debt or to impose
personal liability for such obligation. However, Village Capital & Investment LLC retains rights under its security instrument, including the right to
foreclose its lien.

NOTICE TO CUSTOMERS
To provide us with a Notice of Error about the servicing of your loan, or make a Request for Information about the servicing of your loan, please contact
us at:

                     Village Capital & Investment LLC
                     Attn: Customer Care Department
                     2550 Paseo Verde Parkway, Suite 100
                     Henderson, NV 89074
                     800-919-0068
                     www.villagecapital.com

Should you have any questions or concerns regarding your loan, please contact us at 800-919-0068. Our office is open Monday through Friday, 8:00 AM
to 5:00 PM PST.

MINI MIRANDA
This communication is from a debt collector and it is for the purpose of collecting a debt and any information obtained will be used for that purpose. This
notice is required by the provisions of the Fair Debt Collection Practices Act and does not imply that we are attempting to collect money from anyone
who has discharged the debt under the bankruptcy laws of the United States.

HUD STATEMENT
Pursuant to Section 169 of the Housing and Community Development Act of 1987, you may have the opportunity to receive counseling from various
local agencies regarding the retention of your home. You may obtain a list of the HUD-approved housing counseling agencies by calling the HUD
nationwide toll-free telephone number at (800) 569-4287.

EQUAL CREDIT OPPORTUNITY ACT NOTICE
The Federal Equal Credit Opportunity Act prohibits creditors from discriminating against credit applicants on the basis of race, color, religion, national
origin, sex, marital status, or age (provided the applicant has the capacity to enter into a binding contract); because all or part of the applicant's income
derives from any public assistance program; or because the applicant has, in good faith, exercised any right under the Consumer Credit Protection Act.
The Federal Agency that administers CMS' compliance with this law is the Federal Trade Commission Equal Credit Opportunity, Washington, DC 20580.

Servicemembers Civil Relief Act (SCRA) - If you or any other person on this mortgage is a servicemember or dependent of a servicemember, you may be
entitled to certain protections under the Federal Servicemembers Civil Relief Act (50 U.S.C. Sec 501) regarding the servicemember’s interest rate and the
risk of foreclosure. Counseling for qualified individuals is available at agencies such as Military OneSource and Armed Forces Legal Assistance. To obtain
information on counseling assistance, contact the OneSource Center, toll free, at (800)-342-9647 or visit their website:
http://legalassistance.law.af.mil.content/locator.php.

California Property Owners - The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act require that, except
under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00 p.m. They may not harass you by using threats of violence or
arrest or by using obscene language. Collectors may not use false or misleading statements or call you at work if they know or have reason to know that
you may not receive personal calls at work. For the most part, collectors may not tell another person, other than your attorney or spouse, about your
debt. Collectors may contact another person to confirm your location or enforce a judgment. For more information about debt collection activities, you
may contact the Federal Trade Commission at 1-877-FTC-HELP or www.ftc.gov.

Additional accountings can be requested pursuant to Section 2954 of the California Civil Code.
If you are having difficulty paying your mortgage, you have a right to request that your mortgage servicer conduct an interview to review your current
financial circumstances and to request available options to help you stay in your home. This interview must be scheduled within (14) days of your
request. The interview may be conducted by the servicer over the telephone.

Massachusetts Property Owners - NOTICE OF IMPORTANT RIGHTS: YOU HAVE THE RIGHT TO MAKE A WRITTEN OR ORAL REQUEST THAT TELEPHONE
CALLS REGARDING YOUR DEBT NOT BE MADE TO YOU AT YOUR PLACE OF EMPLOYMENT. ANY SUCH ORAL REQUEST WILL BE VALID FOR ONLY TEN DAYS
UNLESS YOU PROVIDE WRITTEN CONFIRMATION OF THE REQUEST POSTMARKED OR DELIVERED WITHIN SEVEN DAYS OF SUCH REQUEST. YOU MAY
TERMINATE THIS REQUEST BY WRITING TO THE CREDITOR. PLEASE SUBMIT YOUR WRITTEN REQUEST TO STOP SUCH COLLECTION CALLS TO Village
Capital & Investment LLC, 2550 Paseo Verde Parkway, Suite 100, Henderson, NV 89074. The telephone number and hours of availability for Village
Capital & Investment LLC are as follows: 800-919-0068, Monday through Friday, 8:00 AM to 5:00 PM PST.

Oregon Property Owners - Borrowers: The Oregon Division of Financial Regulation (DFR) oversees residential mortgage loan servicers who are
responsible for servicing residential mortgage loans in connection with real property located in Oregon and persons required to have a license to service
residential mortgage loans in this state. If you have questions regarding your residential mortgage loan, contact your servicer at (800-919-0068 or
servicinggen@ villagecapital.com). To file a complaint about unlawful conduct by an Oregon licensee or a person required to have an Oregon license, call
DFR at 888-877-4894 or visit dfr.oregon.gov.

Arkansas Property Owners - Please note that Village Capital & Investment LLC is licensed in Arkansas (Mortgage Servicer License Number 109481 ) and
that complaints about Village Capital & Investment LLC may be submitted to the Arkansas Securities Department via the Department's website
(http://www.securities.arkansas.gov/) or toll-free (800-981-4429).

TEXAS MORTGAGE BANKER DISCLOSURE
CONSUMERS WISHING TO FILE A COMPLAINT AGAINST A MORTGAGE BANKER OR A LICENSED MORTGAGE BANKER RESIDENTIAL MORTGAGE LOAN
ORIGINATOR SHOULD COMPLETE AND SEND A COMPLAINT FORM TO THE TEXAS DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH
LAMAR, SUITE 201, AUSTIN, TEXAS 78705. COMPLAINT FORMS AND INSTRUCTIONS MAY BE OBTAINED FROM THE DEPARTMENT'S WEBSITE AT
WWW.SML.TEXAS.GOV. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT 1-877-276-5550.

For those customers who reside in the State of Texas, Village Capital & Investment LLC will not recognize 3rd Party Property Tax Lien Transfers or
Property Tax Deferrals. Those programs create a lien on your property which takes priority over your mortgage. A change inline position violates your
mortgage agreement and we will take the necessary steps needed to ensure the mortgage lien is not at risk.

Hawaii Property Owners - Village Capital & Investment LLC is licensed by the Division of Financial Institutions for the State of Hawaii (Mortgage Servicer
NMLS ID 3317). A borrower may file a complaint about Village Capital & Investment LLC with the Commissioner using the following address: Division of
Financial Institutions Department of Commerce and Consumer Affairs King Kalakaua Building 335 Merchant Street, Rm. 221, Honolulu, HI 96813
If you believe your loss mitigation option request has been wrongly denied, you may file a complaint with the state division of financial institutions at
(808) 586-2820 or http://cca.hawaii.gov/dfi/file-a-complaint/.

Maine Property Owners - The telephone number and hours of availability for Village Capital & Investment LLC, Inc. are as follows: 800-919-0068,
Monday through Friday, 8:00 AM to 5:00 PM PST.

Utah Property Owners - As required by Utah law, you are hereby notified that a negative credit report reflecting on your credit record may be submitted
to a credit-reporting agency if you fail to fulfill the terms of your credit obligations.

West Virginia Property Owners - The activities of collection agencies in West Virginia are regulated by the Attorney General’s Consumer Protection
Division, 812 Quarrier Street, Charleston, WV 25301. Federal law prohibits agencies from contacting you about your debt if you send a letter requesting
that all contacts stop.
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Case 23-12910-pmm          Doc       Filed 08/15/24 Entered 08/15/24 16:59:12             Desc Main
                                     Document      Page 8 of 8



                                        PROOF OF SERVICE

                    STATE OF CALIFORNIA, COUNTY OF LOS ANGELES:


           I,             Ciera Koga               , certify that I am a resident of the County aforesaid; I

am over the age of 18 years and not a party to the within action; my business address is 28001 Smyth
Dr., Unit 101, Valencia, California 91355.

           On                      8/15/2024              , I served the within NOTICE OF PAYMENT

CHANGE on all interested parties in this proceeding by placing true and correct copy thereof

enclosed in a sealed envelope with postage prepaid in the United States Mail at Valencia, California,

addressed as follows:
 Erik A. Wharton
 Shari L. Merton
 27 Lewis St
 Feasterville Trevose, PA 19053-4319

 Michael A. Cibik, Esquire
 Cibik Law, P.C.
 1500 Walnut Street, Suite #900
 Philadelphia, PA 19102

 Kenneth E. West
 1234 Market Street - Suite 1813
 Philadelphia, PA 19107




       I declare that I am employed in the office of a member of the Bar at whose direction this

service was made.

       I certify under penalty of perjury that the foregoing is true and correct.

        Executed on                8/15/2024                  at Valencia, California.



                                                           Ciera Koga
